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                        UNITED STATES DISTRICT COURT
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                        SOUTHERNDISTRICT OF GEORGIA
                              AUGUSTADIVISION                               Z!I50CIZ0
                                                                                      .ptl ZztZ
                                            CaseNos.:
 IN RE:                                                          U.S.v. M.
                                                        CR 112-176,
 LEAVE OF ABSENCEREQUESTFOR                                      U.S.v. M. Williams
                                                        CR 115-039,
 LAMONTA. BELK                                                   U.S.v. C. Bonner
                                                        CR 115-089,
 DEC. 28,2015- JAli. 4,2016                                      Grantv. U.S.
                                                        CV 115-157,


                                       ORDER

                       of the Motion for Leaveof Absencefiled by the United Statesof
      Upon consideration

Americain the above-citedcaseon behalfof AssistantUnitedStatesAttomey LamontA. Belk

                             er 28, 2015,throughJanuary4, 2016,for travel outsideof the
for the following dates;Decemb

country;the sameis herebyGRANTED.



                                                                              2015.




                                                 DISTRICTCOUR
                                             DISTRICTOF GEORGIA
